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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

  CRYSTALLEX INTERNATIONAL CORP.,

                Plaintiff,

         v.                               C.A.. No. 17-151-LPS

  BOLIVARIAN REPUBLIC OF VENEZUELA,

                Defendant.



 REFINERIA DI KORSOU N.V.’S OPENING BRIEF IN SUPPORT OF INCLUDING ITS
                JUDGMENT AS AN ADDITIONAL JUDGMENT




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 May 24, 2023




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        Refineria Di Korsou N.V. (“RDK”) respectfully submits this memorandum of law, in

 accordance with this Court’s Memorandum Order of May 10, 2023 [D.I. 559] where the Court

 invited any other interested creditors to brief certain issues related to the Sixth Revised Proposed

 Order (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and

 Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of

 Evercore as Investment Banker by Special Master and (D) Regarding Related Matters (the “Sale

 Procedures Order”), entered in Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 1:17-

 mc-151-LPS (D. Del. Oct. 11, 2022) [D.I. 481].

                           NATURE AND STAGE OF PROCEEDINGS

        On May 10, 2023, this Court entered the above referenced Memorandum Order [D.I. 559],

 which, inter alia, provided that “any other interested creditor MAY” brief the following issues

 regarding the Sale Procedure Order:

        a. Which, if any, judgments should·be regarded as “Additional Judgments” under

              the Sale Procedures Order entered in the Crystallex Action?

        b. Should the Court issue full, unconditional orders of attachment (including by

              converting conditional grants) to any creditors? If yes, should the Court direct

              service of any such orders of attachment?

        c. How should the Court determine the priority of any judgments that are made

              Additional Judgments?

        As discussed more thoroughly below, RDK is an interested creditor of Petroleos De

 Venezuela S.A. and is filing this opening brief to address, in part, the questions above.




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                                        SUMMARY OF ARGUMENTS

             1.      The Court, in exercising its discretion, should include the RDK Judgment (defined

 below) as an Additional Judgment under the Sale Procedures Order because: (i) the RDK Judgment

 is against Petroleos De Venezuela S.A. directly, final, and not subject to appeal; (ii) the RDK

 Judgment has been attached to the PDVH shares via a writ of attachment issued by the Superior

 Court of the State of Delaware; (iii) RDK’s request to be included as an Additional Judgment is

 timely; and (iv) RDK is ready and willing to meet its obligations set forth in the Sale Procedures

 Order. As such, including the RDK Judgment as an Additional Judgment will not cause any further

 delay in the sale process.

             2.      RDK does not take a position regarding the issues set forth in paragraph 3.b of the

 Court’s May 10, 2023 Memorandum Order.

             3.      The Court should determine the priority of any judgments that are made Additional

 Judgments pursuant to, and consistent with, the laws of the State of Delaware.

                                          FACTUAL BACKGROUND

        I.        The New York State Proceedings

             RDK obtained a judgment dated August 27, 2022 (the “RDK Judgment”) from the

 Supreme Court of the State of New York, County of New York against Petroleos De Venezuela

 S.A. (“PDVSA”) in the amount of $62,339,755.58.

             The RDK Judgment arises out of a Guaranty dated as of May 22, 1998, as amended (the

 “Guaranty”), in which PDVSA guaranteed the obligations of its wholly-owned subsidiary

 Refineria Isla (Curazao), S.A. (“Isla”). 1 On March 27, 1998, Defendant’s subsidiary Isla entered

 into a Utilities Services Agreement (the “USA”) with Curaçao Utilities Company N.V. 2 Under


 1
     A true and correct copy of the Guaranty dated May 22, 1998, as amended, is attached hereto as Exhibit A.
 2
     A true and correct copy of the Utilities Services Agreement is attached hereto as Exhibit B.
                                                            2


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 the USA, Isla agreed to make monthly payments in connection with utilities supplied by Curaçao

 Utilities Company N.V. to an oil refinery in Curaçao operated by Isla. On May 22, 1998, PDVSA

 executed the Guaranty which obligates PDVSA to pay amounts owed by Isla under the USA.

 Curaçao Utilities Company N.V. assigned its future rights and obligations under the USA to RDK

 effective March 1, 2012.

         The USA is a contract for the supply of utilities to the oil refinery in Emmastad, Curaçao,

 which (first) PDVSA and (later) Isla leased from RDK, along with the oil transshipment terminal

 at Bullenbaai, Curaçao. The USA provides that Isla must pay RDK an amount determined

 pursuant to Article 5.1 of the USA on a monthly basis. The payments due under the USA are

 absolute and unconditional take-or-pay payments which would be due even if Isla had no use for

 the utilities or if the utilities were not supplied. The USA does not allow set-off or deductions. If

 sufficient utilities were not supplied, Isla’s only remedy under the USA would be a claim for

 liquidated damages within annual and overall limits stipulated in the USA, provided, however, that

 the liquidated damages could not be set off against the take-or-pay payments. [USA, Articles

 5.1.1.3, 5.4.3, 9.1.1 and 9.1.5.]

         Isla failed to pay the monthly amounts due to RDK under the USA from early 2018 through

 the end of December 2019, for a total amount of $49,404,195. In addition, Isla continued to receive

 the services under the USA in the period 1 January 2020 through 15 January 2020, for which RDK

 charged Isla half of the monthly amount due under the USA ($1,880,977.46), bringing the total

 amount due to RDK to $51,285,172.46.

         Pursuant to the Guaranty, PDVSA irrevocably and unconditionally agreed to guarantee the

 full and prompt payment of any amounts owed by its subsidiary Isla under the USA:

         [PDVSA] hereby irrevocably and unconditionally guarantees to [RDK] the full and
         prompt payment when due (taking into account all applicable notice and grace

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             periods, if any) of all amounts, liabilities and obligations of [Isla], absolute or
             conditional, due or to become due, or now existing or hereafter incurred, that may
             arise out of the [USA] (the “Guaranteed Obligations”) . . . [PDVSA] further agrees
             that if [Isla] shall fail to pay in full when due all or any of the Guaranteed
             Obligations, [PDVSA] will immediately pay the same upon demand.

 Guaranty at Section 2(a). The Guaranty states that it is “an absolute, unconditional, and continuing

 Guaranty of the full and punctual payment of the Guaranteed Obligations.” Guaranty, Section

 2(b). It also requires that “All payments made by [PDVSA] hereunder shall be made without set-

 off or counterclaim and without any deduction or withholding for any reason, except as expressly

 provided to the contrary in the USA.” Guaranty, Section 2(c).

             The Guaranty is governed by New York law, and provides for jurisdiction and venue in the

 New York courts. Guaranty at 7(e)(i)-(iii). Accordingly, RDK commenced litigation in New York

 against PDVSA in or about August 2020 to enforce the Guaranty and collect the amounts due to

 RDK. PDVSA asked an arbitration panel in a separate arbitration between RDK and PDVSA to

 stay the New York litigation, but the arbitration panel rejected PDVSA’s request. PDVSA then

 elected not to participate directly in the New York litigation, and RDK moved for a default

 judgment.

             The New York court ultimately issued a judgment dated August 27, 2022 and filed August

 30, 2022 against PDVSA in RDK’s favor in the principal sum of $51,285,172.46 together with

 pre-judgment interest of $11,054,583.12, for a total judgment of $62,339,755.58. 3 The time for

 PDVSA to appeal from the issuance of the judgment has passed.

       II.      The Delaware State Proceedings

             On April 12, 2023, RDK filed a Complaint to Domesticate and Enforce a Foreign

 Judgment in the Superior Court of the State of Delaware, C.A. No. N23J-01330. On May 3, 2023,



 3
     A true and correct copy of the judgment against PDVSA, dated August 27, 2022 is attached hereto as Exhibit C.
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 RDK filed a Praecipe requesting the Superior Court to issue a Writ of Attachment Fieri Facias

 (the “Writ”) to the Sheriff of New Castle County instructing him to serve the Writ upon PDV

 Holding, Inc. (“PDVH") to attach all shares of stock and any other assets or rights incident to that

 stock ownership belonging or owing to PDVSA. The Writ was issued the following day on May

 4, 2023. On May 10, 2023, the Writ and Fi Fa Attachment were served upon PDVH’s registered

 agent.

                                           ARGUMENT

     I.       The RDK Judgment Should be Included as an Additional Judgment.

          The RDK Judgment should be added as and/or deemed to be an “Additional Judgment”

 pursuant to the Sale Procedures Order entered in Crystallex Int’l Corp. v. Bolivarian Republic of

 Venezuela, 1:17-mc-151-LPS (D. Del. Oct. 11, 2022) [D.I. 481]. The Sale Procedures Order

 provides that the determination of Additional Judgments is a matter left to the discretion of the

 Court, and there is nothing in the Sale Procedures Order that prohibits the inclusion of the RDK

 Judgment, which has been attached to the PDVH shares via an issued and served writ of

 attachment. See Sale Procedures Order at 25 (“the Court will decide in accordance with applicable

 law which, if any, additional judgments (the ‘Additional Judgments’ and with the Crystallex

 Judgment, the ‘Attached Judgments’) are to be considered by the Special Master for purposes of

 the Sale Transaction. . . .”).

          First, the RDK Judgment is directly against PDVSA, no longer subject to appeal, and is

 thus final in all respects. Notably, because the RDK Judgment is directly against PDVSA as

 opposed to the alter ego of another entity, the Third Circuit’s decision in the current pending

 appeals will have no effect on whether RDK can continue to pursue PDVSA’s property. Further,

 the RDK Judgment has been registered in Delaware, and the Writ attaching the judgment to the


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 PDVH shares has been issued and served upon PDVH’s registered agent. RDK’s request to be

 included as an Additional Judgment is timely under the Sale Procedures Order.             See Sale

 Procedures Order at 25 (defining the Additional Judgment Deadline as “no later than ten calendar

 days after the Launch Date”).

          Finally, RDK is not seeking the status of a Sale Process Party or seeking to amend or

 modify the Sale Procedure Order. RDK is cognizant of the time, effort, and resources that that the

 Court, the Special Master and the Sale Process Parties have devoted to the Sale Procedure Order.

 As such, RDK does not seek to disturb the status quo and merely requests that the RDK Judgment

 be included as a judgment to be satisfied. Moreover, RDK is ready and willing to adhere to the

 duties and obligations set forth in the Sale Procedure Order, including paying its fair share of the

 Transaction Expenses and providing any information that the Special Master or the Sale Process

 Parties may require in conducting the process under the Sale Procedure Order.

          As such, inclusion of the RDK Judgment would not cause any delay, prejudice any of the

 relevant parties, or create any further issues. There is no reason why the RDK Judgment should

 not be included as an Additional Judgment here.

    II.       Priority of Additional Judgments Should be Determined Under the Laws of the
              State of Delaware.

          Pursuant to Federal Rule of Civil Procedure 69, the “procedure on execution—and in

 proceedings supplementary to and in aid of judgment or execution—must accord with the

 procedure of the state where the court is located, but a federal statute governs to the extent it

 applies. The general rule in Delaware is first in time, first in right. E. Sav. Bank, FSB v. Cach,

 LLC, 2014 Del. Super. LEXIS 374, at *9 (Super. Ct. July 31, 2014). “A lien created by state law

 derives its priority at the time it attaches to the property and has become choate.” State ex rel.

 Sec'y of the DOT v. Fisher, 1997 Del. Super. LEXIS 581, at *5 (Super. Ct. Dec. 22, 1997). “To

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 be choate, a lien must be certain as to the amount, the identity of the lienor, and the property subject

 to the lien.” Id.

          RDK is unaware of a federal statute that would apply here, and thus, takes the position

 that the Laws of the State of Delaware apply regarding the priority of judgments. As such, the

 Court should determine priority based upon the above rules regarding priority.

                                           CONCLUSION

         For all these reasons, RDK respectfully requests that this Court include the RDK Judgment

 as an Additional Judgment under the Sale Procedures Order, and determine priority of the

 Additional Judgments pursuant to the laws of the State of Delaware.

  Dated: May 24, 2023                                   GELLERT SCALI BUSENKELL &
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